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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                             Case No.: 24-21209-LMI

SHIFTPIXY, INC.,1                                                  Chapter 7
                                                                   (Jointly Administered)
          Debtors.                                             /

                     TRUSTEE’S EMERGENCY MOTION FOR AUTHORITY
                        TO OPERATE BUSINESS UNDER 11 U.S.C. § 721

                   (Emergency Hearing requested on or before February 6, 20252)

                                              Basis for Exigency


                 The Trustee requests that the Court conduct an emergency hearing on
                 this motion to authorize the limited operation of the Debtor’s Business
                 (as hereinafter defined) pursuant to 11 U.S.C. § 721 to avoid
                 substantial harm that may y occur if the Debtor’s business operations
                 cease. The relief sought herein is necessary to ensure that the estate
                 realizes the maximum value for its interests in the Debtor’s Business.
                 To protect the estate’s interests in the Debtor’s Business, the Trustee
                 requires immediate authority to operate the Debtor’s Business on a
                 limited basis. Given the circumstances, advance consent from all
                 parties in interest to this motion is impossible. The Trustee thus
                 requests that the Court waive the requirements of Local Rule 9075-1.

          Jacqueline Calderin, not individually, but in her capacity as the Chapter 7 Trustee

(the “Trustee”), of the bankruptcy estate of SHIFTPIXY, INC. and its jointly administered

affiliates (collectively referred to as the “Debtor”), by and through undersigned proposed3

counsel, and pursuant to 11 U.S.C. §§ 105(a) and 721 of the United States Code


1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
  Payroll is scheduled for February 5, 2025 and the Trustee seeks authority for payment in order to avoid irreparable
harm to the employees.
3
  The Trustee’s filed her application for approval of employment of Jesse R. Cloyd and the Law Firm of Agentis
PLLC as counsel effective as of January 31, 2025 [ECF# 183].



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(the “Bankruptcy Code”), and Local Bankruptcy Rule 9075-1, moves for the entry of an Order

on an emergency basis, authorizing the Trustee to operate the Debtor’s business (the “Debtor’s

Business”) on a limited basis, and pay necessary expenses and/or, in the alternative, to incur

administrative expenses necessary for consummation of wind-down of the estate (the “Motion”),

and in support thereof states:

                                 I. JURISDICTION & VENUE

       1.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(O).

       2.      Venue is proper in this District pursuant to 28 U.S.C. § 1408.

                                       II. BACKGROUND

       3.      These matters were initiated by the Shiftpixy, Inc., Shiftpixy Staffing, Inc. and

ReThink Human Capital Management, Inc. upon the filing of a voluntary petitions for relief

under Chapter 11 of the Bankruptcy Code in this Court on October 28, 2024.

       4.      On October 30, 2024, the Court entered an Order (i) Directing Joint

Administration of the Debtors’ Related Chapter 11 Cases and (ii) Granting Related Relief [ECF#

10].

       5.      On January 31, 2025, the Court entered the Order Granting Expedited Motion of

the Debtors for Entry of an Order Converting the Debtors’ Chapter 11 Cases to Cases Under

Chapter 7 of the Bankruptcy Code Upon the Closing of the Same [ECF No. 109] [ECF# 179]

(the “Conversion Order”).

       6.      Subsequently, Jacqueline Calderin was appointed the Chapter 7 Trustee (the

Trustee”) in the above styled matter, and the meeting of creditors under section 341 of the

Bankruptcy Code is currently scheduled to be held on March 4, 2025 at 1:30 p.m. [ECF# 182].

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        7.     The Debtor’s core business was a human capital management platform that

provided a full suite of personnel staffing services to its clients. In December of 2024, the

Debtor closed a sale of substantially all of its assets to G3 Business Services, LLC (“G3”). At

the time of conversion, the Debtor was still in the process of completing tax filings for clients

and transitioning assets and personnel to G3.

        8.     At this early stage of the case, the Trustee believes that the continuing operation

of the business on a limited basis will maintain the value of the estate, and that closing the

Debtor’s Business at this stage, would deplete the value and cause unnecessary harm.

9.      Upon information and belief, the Debtor maintains a directors and officer’s insurance

policy # ELU190927-23, through IPFS (the “D&O Policy”), and upon information and belief,

with a premium payment due on or around February 28, 2025.

        10.    The Trustee is still gathering information but seeks limited operational authority

to make certain payments (including those listed below). The Trustee believes these payments

will ultimately be beneficial to the estate, and in some instances minimize liability to the estate.

This Motion also seeks to compensate individuals who have provided work and value to the

estate during the Chapter 11 phase. The Trustee does not believe that the operation of the

Debtor’s Business will violate any local laws or ordinances or cause harm to the estate or any

third party.

        11.    The Trustee will only operate the business until such time as she determines the

best course of action for the estate.

        12.    The Trustee seeks authority to operate the Debtor’s Business for a period of sixty

(60) days until a long-term strategy for the Debtor can be formulated and implemented, without



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prejudice to seeking further extensions of the authority to operate and pay necessary expenses

for consummation of wind-down and liquidation of the estate.

        13.     The United States Trustee has no objection to the relief requested herein.

                                      III. BASIS FOR EXIGENCY

        14.     The Trustee believes an emergency hearing on this Motion is necessary to obtain

authorization to operate the Debtor’s Business as soon as practically possible to pay certain

payroll, preserve the value of the estate for the benefit of creditors and to avoid any potential

disruption to the on-going, post-closing matters with G3.

                      IV. REQUESTED RELIEF AND BASIS THEREFOR

        A.      Use of Cash

        15.     The Debtor has three (3) Debtor In Possession (“DIP”) accounts with City

National Bank, and 4 DIP accounts with Wells Fargo. Upon information and belief, the

combined balance of all 6 accounts is approximately $212,076.48.

        16.     Pre-conversion the Debtor sought the use of cash, advising the Court that

Debtor’s cash was subject to the asserted lien of an entity known as Balanced Management LLC

(“BM”). It would appear that the perfecting instrument for BM’s loan, a financing statement, was

recorded with the Secretary of State within the avoidance period of §547(b). However, until

avoided, the Trustee brings this Motion for, among other things, the use of Debtor’s cash during

the proposed and brief operational.

        17.     The Trustee proposes to provide BM with the same protections afforded to them

in the Court’s Final Order Authorizing Debtor’s Motion for Authorization to Use Cash

Collateral [ECF #96], i.e., replacement liens in Debtor’s cash, to the same extent as any

prepetition lien.

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       B.     Payroll and Wages.

       18.    Having consummated the sale to G3, the Debtor is in a wind-down phase. There

are currently twelve (12) employees who are owed payroll as of January 31, 2025. Richard

Pinder, formerly with the Debtor, will be providing the breakdown of this payroll, including the

funding of benefits, and upon receipt the Trustee will supplement this motion. These amounts

are Chapter 11 administrative claims (and possibly, to a lesser extent, Chapter 7 administrative

claims). The Trustee intends to terminate all employees who are not essential to her limited

operations, but anticipates retaining at least two, possibly three, such employees to handle

payroll taxes for Debtor’s remaining clients, and to assist in the transition of the remaining

accounts to G3.

       19.    The Debtor has used, and may be continuing to use, certain systems and programs

to process tax payments for clients. Two such systems are the Prism system and the ADP Master

Tax System. Both systems are leased, and the Trustee is seeking the authority but not the

direction to pay lease payments for these systems as needed to complete client payroll and tax

payments.

       20.    Finally, the Debtor maintained Directors and Officers Liability and Cyber EPL

policies. Upon the Trustee’s information and belief, the premium for one such policy was due on

January 31, 2025, and the other may be due in February, 2025. In order to avoid cancellation of

these policies, which may be a primary source of recovery for creditors, the Trustee intends to

pay the premiums for these policies. The Trustee will submit notices of filing of the exact

amounts due under each policy by the time the Court conducts a hearing.

       21.    For the reasons set forth above, the Trustee asserts that it is in the best interest of

the estate that she be authorized to continue to (a) operate the Debtor’s Business, to the extent

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necessary, and (b) incur and pay ordinary expenses associated with the operation thereof for at

least 60 additional days, without prejudice to the Trustee seeking extension(s) of said time period

if she deems it appropriate.

       22.     In the alternative, the Trustee seeks the Court’s authority to incur the

administrative costs, expenses, and fees to be reflected on a budget to be filed with the Court at

or just prior to the hearing the Court may conduct in this case.

       23.     The Trustee “is charged by statute with marshaling and liquidating the assets of

the estate,” which “is to be done as expeditiously as is compatible with the best interest of parties

in interest.” In re Transcon Lines, 178 B.R. 228, 234 (Bankr. C.D. Cal. 1995) (citing 11 U.S.C.

§ 704(1)).

       24.     Furthermore, Section 721 of the Bankruptcy Codes provides that “the Court may

authorize the trustee to operate the business of the debtor for a limited period, if such operation is

in the best interest of the estate and consistent with the orderly liquidation of the estate.”

11 U.S.C. § 721; see In re Key Airlines, Inc., 93-40226, 1993 WL 13003251, at FN4 (Bankr.

S.D. Ga. Oct. 5, 1993) (Court noted that “if there is any ability to continue the operation of this

business for a limited period of time in order that the trustee might attempt to sell the company or

any of its assets, a Chapter 7 trustee has the authority to do so pursuant to 11 U.S.C. Section

721”); see also In re Lykes Bros. S.S. Co., Inc., 196 B.R. 586, 596 (Bankr. M.D. Fla. 1996)

(Court noted that a Chapter 7 trustee “may be authorized to operate the Debtor’s business

temporarily by virtue of § 721 of the Bankruptcy Code”).

       25.     At least one Court has noted that operational authority under Section 721 should

be provided to the trustee when a business of the debtor “could be sold for a greater price as a

going concern than would be obtained in ordinary liquidation.” In re A & T Trailer Park, Inc.,

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53 B.R. 144, 147 (Bankr. D. Wyo. 1985). Consistent with the foregoing authorities, the Trustee

submits that granting the Trustee authority to operate the Debtor’s Business will best preserve

the value for the benefit of the estate.

        26.     The Bankruptcy Code authorizes a Chapter 7 Trustee to operate a business to

enhance the sale value of a business. Section 721 provides “[t]he Court may authorize the trustee

to operate the business of the debtor for a limited period, if such operation is in the best interest

of the estate and consistent with the orderly liquidation of the estate.” 11 U.S.C. § 721.

        27.     When considering whether the operation of a business by a Chapter 7 trustee is in

the best interest of the and consistent with orderly liquidation, analysis of the following factors is

proper: (a) whether operating the business will result in an operating loss; (b) the tax

consequences of operating the business; (c) the costs necessary to bring the business within

compliance of local laws to the extent local laws do not conflict with the Bankruptcy Code; (d)

potential liabilities and claims against the estate and the trustee which may arise from the

operation of the business; and (e) the length of time the business will be operated.

        28.     The Trustee submits that, based upon the information that has been made

available for review thus far, consideration of the foregoing factors in connection with the

precepts of Section 721 supports operation of the Debtor’s Business until such time that the

Trustee can determine the best course of action in this case.

        29.     Accordingly, the Trustee submits that her interim operation of the Debtor’s

Business is in the best interests of the estate and consistent with her duty to marshal its assets and

maximize a return to its creditors.

        WHEREFORE, the Trustee respectfully requests the entry of an Order (i) authorizing

the Trustee to operate the Debtor’s Business, on a limited basis, (ii) pay necessary expenses

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and/or, in the alternative, to incur administrative expenses necessary for consummation of wind-

down and transition to the buyer of the Debtor’s assets, and (iii) providing any further relief that

the Court deems just and proper.

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                                              By:     /s/ Jesse R. Cloyd
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to

receive electronic notices of filing in this case on February 4, 2025.

                                              By:     /s/ Jesse R. Cloyd
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